Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 1 of 8 Page ID #5374



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

    GERRY ARMBRUSTER,                          )
                                               )
                           Plaintiff,          )
                                               )
    vs.                                        )   Case No. 3:16-CV-544-MJR-MAB
                                               )
    BHARAT SHAH, RON VITALE,                   )
    LORETTA WILFORD, and WEXFORD               )
    HEALTH SOURCES, INC.,                      )
                                               )
                        Defendants.            )

                             MEMORANDUM AND ORDER

  REAGAN, Chief Judge:

          This matter is currently before the Court on Plaintiff’s Motion for Leave to Add

  Exhibit to His Third Amended Complaint (Doc. 145). For the reasons explained below,

  the motion is granted.

          Plaintiff brings this civil rights lawsuit against Defendants Dr. Bharat Shah,

  Warden Ron Vitale, Nurse Loretta Wilford, and Wexford Health Sources, Inc. for denying

  him medical treatment for his spinal cord compression while he was incarcerated at

  Southwestern Correctional Center in 2014 (Doc. 123). In Count 3 of his Third Amended

  Complaint, Plaintiff alleges a medical malpractice claim under Illinois law against Dr.

  Shah and Wexford (Doc. 123). Under Illinois law, medical malpractice claims must be

  supported by an affidavit from the plaintiff’s attorney and a written report from a

  qualified, licensed physician who has reviewed the case and determined that “there is a

  reasonable and meritorious cause for the filing of such action.” 735 ILL. COMP. STAT. 5/2-




                                         Page 1 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 2 of 8 Page ID #5375



  622(a). In an effort to comply with this requirement, Plaintiff attached to his complaint an

  affidavit from his attorney and a letter from Dr. Gregory Bailey, the physician who

  performed emergency surgery on Plaintiff following his release from the Illinois

  Department of Corrections (Doc. 123-1). Defendants, however, believe that Dr. Bailey’s

  letter is inadequate to satisfy the requirements of § 2-622 because Dr. Bailey never

  reviewed any of Plaintiff’s medical records from prison, his letter did not name Dr. Shah

  or discuss the specific deficiencies in the medical care he rendered, and because Dr. Bailey

  did not prepare his letter in anticipation of a medical malpractice claim, but instead

  prepared it to assist Plaintiff in applying for disability benefits (Docs. 133, 151).

  Defendants argue that because Plaintiff did not comply with the requirements of § 2-622,

  they are entitled to summary judgment on the medical malpractice claim (Docs. 132, 133).

         In response to Defendants’ motion for summary judgment, Plaintiff disputes that

  Dr. Bailey’s letter is insufficient but nevertheless seeks leave to add an exhibit to his

  complaint, namely the report of his retained expert witness, Dr. Peter Brown, in order to

  bring his complaint into compliance with § 2-622 (Doc. 145; see also Doc. 157). Defendants

  oppose Plaintiff’s request to amend his complaint and add Dr. Brown’s report, arguing

  that Plaintiff’s request is untimely, the amendment would “substantially prejudice”

  them, and Dr. Brown’s report is not sufficient to support Plaintiff’s claim against Wexford

  (Doc. 151).

         Section 2–622 is a technical pleading requirement designed to screen and deter

  frivolous medical malpractice claims and to eliminate such claims during the pleadings

  stage, before the expenses of litigation have mounted. E.g., DeLuna v. St. Elizabeth's Hosp.,



                                           Page 2 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 3 of 8 Page ID #5376



  588 N.E.2d 1139, 1142 (Ill. 1992). It is “not a substantive defense” which may be employed

  to bar plaintiffs who fail to meet its terms.” Hahn v. Walsh, 762 F.3d 617, 634 (7th Cir. 2014)

  (quoting Cammon v. W. Suburban Hosp. Med. Ctr., 704 N.E.2d 731, 738–39 (Ill. App. Ct.

  1998)). The plaintiff in a medical malpractice action should be allowed every reasonable

  opportunity to establish her case.” Cammon, 704 N.E.2d at 739; Moss v. Gibbons, 536 N.E.2d

  125, 129 (Ill. App. Ct. 1989). Accordingly, the statute should be liberally construed and

  not mechanically applied to deprive a plaintiff of his substantive rights merely because

  he has not strictly complied with the statute. Hahn, 762 F.3d at 634 (quoting Cammon, 704

  N.E.2d at 739). See also Apa v. Rotman, 680 N.E.2d 801, 804 (Ill. App. Ct. 1997) (“The

  technical requirements of the statute should not interfere with the spirit or purpose of the

  statute, and the absence of strict technical compliance is one of form only and not one of

  substance.”)

         The determination of whether to allow amendment is left to the discretion of the

  trial court and depends on the particular facts and circumstances of the case. Cato v. Attar,

  569 N.E.2d 1111, 1113 (Ill. App. Ct. 1991) (citations omitted). However, it must be noted

  that amendments to the complaint should be “liberally allowed to enable medical

  malpractice actions to be decided on their merits rather than on procedural technicalities.

  The test is the furtherance of the ends of justice.” Apa, 680 N.E.2d at 804; Moss, 536 N.E.2d

  at 129. It is also worth noting that the Seventh Circuit has expressed a preference for

  permitting amendment in situations such as this where a plaintiff has filed a flawed

  affidavit and report. See Sherrod v. Lingle, 223 F.3d 605, 614 (7th Cir. 2000).

         In this instance, given the facts and circumstances of the case, sound discretion



                                            Page 3 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 4 of 8 Page ID #5377



  requires Plaintiff be afforded the opportunity to add an exhibit to his complaint to satisfy

  the requirements of § 2-622. First, Defendants do not argue, and the record is devoid of

  any suggestion, that Plaintiff’s medical malpractice claim is in any manner frivolous (see

  Doc. 133). See, e.g., Cookson v. Price, 914 N.E.2d 229, 232 (Ill. App. Ct. 2009) (considering

  whether claim was potentially meritorious in deciding whether the trial court erred in

  not allowing plaintiff to amend complaint that did not comply with § 2–622); Apa, 680

  N.E.2d at 805 (same).

         Second, the Court disagrees with Defendants’ assertion that Plaintiff’s request to

  add Dr. Brown’s report is untimely. According to Defendants, Plaintiff “should have been

  aware” that Dr. Bailey’s letter did not satisfy the requirements of § 2-622 at the time he

  initially filed it and each subsequent time he amended his complaint, but Plaintiff unduly

  delayed in fixing the error for twenty-two months, until after discovery had closed and

  Defendants had moved for summary judgment (Doc. 151). While Plaintiff’s request

  certainly comes late in the game, “delay is insufficient in itself to deny a medical

  malpractice plaintiff leave to amend.” Apa, 680 N.E.2d at 805 (citing Leask v. Hinrichs, 595

  N.E.2d 1343, 1348 (Ill. App. Ct. 1992). Plaintiff sought leave to provide a satisfactory

  medical report approximately five weeks after the original report was challenged (see

  Docs. 132, 133, 145). See Leask, 595 N.E.2d at 1348 (holding the trial court abused its

  discretion in dismissing claim with prejudice, in part, because plaintiff moved to amend

  the complaint by adding a detailed satisfactory medical report within a month of the

  defendant's challenge to the report). And Defendants did not put forth any convincing

  evidence or argument suggesting bad faith or abuse of the legal process on Plaintiff's part



                                           Page 4 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 5 of 8 Page ID #5378



  in relying on Dr. Bailey’s report in the first instance. See, Hahn v. Walsh, 72 F.3d 617, 634

  (7th Cir. 2014) (considering whether the plaintiff acted in bad faith in deciding whether

  district court erred in not allowing plaintiff leave to amend complaint that did not comply

  with § 2–622); Cookson, 914 N.E.2d at 232 (same); Apa, 680 N.E.2d at 805 (same).

         Third, Defendants failed to convincingly demonstrate they would be unduly

  prejudiced if Plaintiff were allowed to amend his complaint to add Dr. Brown’s report.

  See, e.g. Hahn, 762 F.3d at 634 (considering prejudice to the other party in deciding

  whether district court erred in not allowing plaintiff leave to amend complaint that did

  not comply with § 2–622); Christmas v. Dr. Donald W. Hugar, Ltd., 949 N.E.2d 675, 684 (Ill.

  App. Ct. 2011).

         Defendants argue that the time and resources spent writing the summary

  judgment brief regarding the medical malpractice claim would be for naught and they

  would be forced to file a reply brief to add new arguments (Doc. 151). Defendants could

  have avoided the purported waste of time and resources, however, by challenging Dr.

  Bailey’s letter during the pleadings stage. DeLuna v. St. Elizabeth's Hosp., 588 N.E.2d 1139,

  1142 (Ill. 1992) (“Section 2–622 is designed to . . . eliminate [frivolous] actions at an early

  stage, before the expenses of litigation have mounted.”) While Defendants attempt to

  imply that the § 2-622 violation was not uncovered until Dr. Bailey was deposed two

  years into the case (see Doc. 133, Doc. 151), deficiencies in Dr. Bailey’s letter were evident

  from the moment it was initially filed with Plaintiff’s First Amen=P{}\-ded Complaint




                                            Page 5 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 6 of 8 Page ID #5379



  (Doc. 33-1). 1 Defendants, however, opted to litigate the case for nearly two years,

  engaging in significant discovery along the way, before mounting their § 2-622 challenge

  as part of their motion for summary judgment (Doc. 133).

          Defendants also claim they “were already prejudiced by defending a medical

  malpractice claim for 19 months based on an unknowledgeable health professional’s

  letter” (Doc. 151). That would be true if Plaintiff’s claim turned out to be frivolous, but as

  previously stated, nothing in the record suggests that Plaintiff’s claim is even remotely

  frivolous. Lastly, Defendants claim they would be prejudiced by the addition of Dr.

  Brown’s report because it wasn’t produced to them “until after Defendants had disclosed

  their experts, less than a month before discovery closed, . . . and after all party depositions

  were taken” (Doc. 151). It is unclear to the Court how Defendants are possibly prejudiced

  by the timing of Dr. Brown’s report, particularly in light of the fact Defendants were able

  to depose Dr. Brown about the contents of his report before the close of discovery (Doc.

  145).

          Finally, Defendants argue that allowing the amendment would not cure the

  deficiencies regarding Plaintiff’s medical malpractice claim against Wexford (Doc. 151).

  Specifically, Defendants claim that because § 2-622 requires a separate report for each

  defendant, and Dr. Brown’s report is silent as to Wexford, it cannot be used to support

  Plaintiff’s medical malpractice claim against Wexford (Doc. 151). However, the Court is




  1 For example, as Defendants mentioned, Dr. Bailey’s letter does not name Dr. Shah, let alone discuss the
  specific deficiencies in the medical care he rendered. See, e.g., Cammon v. W. Suburban Hosp. Med. Ctr., 704
  N.E.2d 731, 738 (Ill. App. Ct. 1998).



                                                 Page 6 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 7 of 8 Page ID #5380



  under the impression that Plaintiff’s medical malpractice claim against Wexford is based

  on vicarious liability as Dr. Shah’s employer (see Doc. 123). “No report need be filed as to

  any defendant whose claimed liability is wholly vicarious provided that a report in

  compliance with section 2–622 has been filed as to the individuals whose conduct forms

  the basis of the vicarious liability.” Schroeder v. Nw. Cmty. Hosp., 862 N.E.2d 1011, 1021

  (Ill. App. Ct. 2006) (citing Cammon v. West Suburban Hospital Medical Center, 704 N.E.2d

  731, 738 (Ill. App. Ct. 1998)).

         Given these findings, combined with the Seventh Circuit’s preference for

  permitting amendment in this type of situation, the purpose of § 2-622 is best served by

  allowing Plaintiff to amend his complaint. To deny Plaintiff leave to amend would elevate

  § 2-622 to a substantive defense and force the Court to decide the medical malpractice

  claim based on a technicality rather than the merits. This, of course, is the precise situation

  repeatedly warned against by Illinois courts.

                                          CONCLUSION

         Plaintiff’s Motion for Leave to Add Exhibit to His Third Amended Complaint

  (Doc. 145) is GRANTED. The specifics of how Dr. Brown’s report will be added to the

  Third Amended Complaint will be discussed at the status hearing set for Tuesday,

  January 29, 2019, before Magistrate Judge Mark A. Beatty. Judge Beatty will also discuss

  the potential for allowing Defendants to file a supplement to their motion for summary

  judgment regarding Plaintiff’s medical malpractice claim.




                                            Page 7 of 8
Case 3:16-cv-00544-MJR-MAB Document 198 Filed 01/28/19 Page 8 of 8 Page ID #5381



        IT IS SO ORDERED.

        DATED: January 28, 2019

                                            s/ Michael J. Reagan
                                            Michael J. Reagan
                                            United States District Judge




                                   Page 8 of 8
